In The Distn`ct Court of the United States F l L E D
For the U S Federal Court Eastern Dist!ict of Tennessee
800 Market Street mm 0 y _ l j
Knexviue, TN 37902 ' 55 2 l A ltv 2 'l

Clerk of the Court phone: 865-545-4228
u.s. msrmcr comm

EASTERH DiST_ TEHN
GREGORY ELLIOTT, an individual, '
and all others similarly situated, BY°----_BEPT. C[.ERK

Plaintiffs,

FEDERAL CAS WBER
Q)»OE\ -(!\/- §§
HoUsEHoLD BANK, an enterprise lomm\§m \Yl@Lj
affecting interstate commerce,

ARIEL MENDOZA, an individual predicate
Actor in schemes violating
federal laws providing that fraud
and extortion are malum in se offenses.

FINKELSTEIN, KERN, STEINBERG
& CUNNINGHAM, an enterprise
affecting interstate commerce,

TIMOTHY L. EDINGTON, an individual
predicate Actor in schemes violating
federal laws providing that fraud
and extortion are malum in se offenses.

RON CUNNINGHAM, an individual predicate
Actor in schemes violating federal laws
providing that fraud and extortion are
malum in se offenses,

PAUL E. MCLEMORE, an individual predicate
Actor in schemes violating federal laws
providing that fraud and extortion are
malum in se offenses,

JEFF D. RADER, a public Official, records
verify, aids and abets schemes of
fraud and extortion

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\./\./\./V\./ v\./\./\./\./\_/\./\./\./\./\./\./\./\./\./\./\./\./\./\./

Defendants

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Petition, complaint, and claim under authority of 18 USC l964(a)

Subject matter jurisdictional statement

FEDERAL QUESTION JURISDICTION: 28 USC § 1331: The federal district
court has subject matter jurisdiction to consider this claim under authority of 18 USC
l964(a) and by virtue of suiiicient pleadings clearly articulating violations of 18 USC
1961 & 1962. The violations are pled with particularity infra. Furthermore, the clear
face of this record shows the claims of Gregory Elliott in harmony with Attz'ck v. Valerz'a
Associates, L.P., S.D. N.Y. 1992, 835 F. Supp. 103, Avirgan v. Hull, C_A. 11 (Fla.) 1991,
932 F.2d 1572, Yellow Bus Lines, Inc. v. Drivers, Chaujeurs & Helpers Local Um`on
639, C.A.D.C. 1990, 913 F.2d 948, 286 U.S. App. D.C. 182, certiorari denied 111 S.Ct.
2839, 501 U.S. 1222, 115 L.Ed. 2d 1007, Hecht v. Commerce Clearing House, Inc. C.A_
2 (N.Y.) 1990, 897 F.2d 21, 100 A.L.R. Fed. 655, Standard Chlorl`ne of Delaware, Inc. v.
Sinibaldi, D.Del. 1992, 821 F. Supp. 232, Jordan v. Herman, F.D. Pa. 1992, 792 F. Supp.
380, Nassau-Sujolk Ice Cream, Inc. v. Integrated Resources, Inc. S.D.N_Y. 1987, 114
F.R.D. 684, Polletl'er v. Zwel'fel, C.A_ 11 (Ga.) 1991, 921 F.2d 1465, rehearing denied
931 F.2d 901, certiorari denied 112 S_Ct. 167, 502 U.S. 855, 116 L.Ed. 131, Khurana v.
Innovative Heath Care Systems, Inc. , C.A. 5 (La.) 1997, 130 F.3d 143, vacated 119 S.Ct.
442, 525 U.S. 979, 142 L.Ed. 2d 397, on remand 164 F.3d 900, In re Amerl`can Honda
Motor Co., Inc. Dealership Relations Litigation, D.Md. 1996, 941 F.Supp. 528, Red Ball
Interior Demolz`tz`on Corp. v. Palmadessa, S_D.N.Y. 19957 908 F.Supp_ 1226, Protter v.
Nathan’s Famous Systems, Inc. E.D. N.Y. 1995, 904 F.Supp. 101, Prudentz'al Ins. Co. of
America v. U.S. Gypsum Co. D.N.J. 1993, 828 F_Supp. 287, and Compagm`e de
Reassuarance D’lle de France v. New England Reinsurance Corp. D. Mass. 1993, 825
F.Supp. 370. n

Statement of in personum jurisdiction
HOUSEHOLD BANK (SB), N.A. is an enterprise affecting interstate commerce
HOUSEHOLD BANK (SB), N.A. operates from P.O. Box 4155 in Carol Stream, Il.
FINKELSTEIN, KERN, STEINBERG & CUNNINGHAM, located at 6440 Paperrnill
Drive in Knoxville, TN 37919, is a local facilitator of fraud and extortion for

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HOUSEHOLD BANK (SB), N.A.. Timothy L. Edington is a member of the enterprise,
FINKELSTEIN, KERN, STEINBERG & CUNNINGHAM. Jeff D. Rader aided and
abetted FINKELSTEIN, KERN, STEINBERG & CUNNINGHAM, and Timothy L,
Edington in Edington’s violations of 18 USC 1961 & 1962.

Statement of venue
Venue is appropriate in the U S Federal Court Eastern District of Tennessee as the
predicate acts of ii'aud and extortion committed by Timothy L. Edington occurred in the

U S Federal Court Eastern District of Tennessee

Theory of the case

Timothy L. Edington is engaged in the debt collection fraud racket. HOW THE
DEBT COLLECTION FRAUD RACKET WORKS: FINKELSTEIN, KERN,
STEINBERG & CUNNINGHAM is a subset of the debt collection racket, a wide-spread,
far-reaching scam composed of artists such as Timothy L. Edington, et al. How the scam
works: In a back room of the Chicago Board of Trade, worthless bundles of commercial
paper in the form of copies of charged off debt are sold at auction or ii'om “debt
purchasing” organizations such as Collins Financial Services, lnc., a.k.a. sales@cfsi.net,
Money World Network, foreclosurestorecom, chargeoffcleaninghouse.com, and
loans@money-linance.us. Actors such as Edington can also rely on such resources as
collectionindustry.com_ The typical face value of the bundles oRen amounts to tens of
millions of dollars The original makers of the loans including mortgagees and credit
card debt are rarely hanned because they most oRen have hypothecated the loan and have
risked nothing Actors up line from such artists as FINKELSTEIN, KERN,
STEINBERG & CUNNINGHAM then break apart the bundles and resell the worthless
commercial paper in clusters based on who the original creditor is and what the
geographic location of the origin of the individual copies Artists such as
FINKELSTEIN, KERN, STEINBERG & CUNNINGHAM are the actual “end user”
holders in due course although typically in the scam, enterprises such as FINKELSTEIN,
KERN, STEINBERG & CUNNINGHAM invest as little as 75 cents on the hundred
dollar face amount for the worthless commercial paper, then allege they are third party

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debt collectors attempting to collect for the original maker of the loan. Enterprises such
as FINKELSTEIN, KERN, STEINBERG & CUNNINGHAM use threat, coercion,
intimidation, and deception to defraud and extort money and property from parties such
as Gregory Elliott. Whenever necessary, scam artists such as Timothy L. Edington,
subject parties such as Gregory Elliott to sharn legal proceedings where: (1) Standing to
sue in the respective state court is never proved, (2) Standing to sue as a bona fide holder-
in-due-course is never proved, (3) Corporate charter authority to make consumer loans is
never proved, (4) Corporate charter authority to sue for damages on consumer loans is
never proved, (5) Darnages in fact are never proved, and (6). Delegation of authority
from enterprises such as HOUSEHOLD BANK (SB), N.A. to predicate actors such as
FINKELSTEIN, KERN, STEINBERG & CUNNINGHAM is never proved. When
defendants raise any defense whatsoever, they are forced into submission by lawless acts
of tyranny from public servants such as leff D. Rader, who either are, or pretend to be,
absolutely “clueless.” In this instant case, Rader is either “on the take” receiving
kickbacks and bribes from Edington or his iiml, or Rader lacks both the ethical and
professional integrity to make decisions affecting other people’s lives This racket is
particularly heinous in the case of credit card contracts, which as a continuing series of
offers to contract, are non-transferable The scam is complete when artists such as
Timothy L. Edington, with the cooperation of bad character, bad behavior public servants
like JeifD. Rader, defraud parties such as Gregory Elliott.

FIRST PREDICATE ACT IN VIOLATION OF 18 USC 1961 & 1962: On
09/14/04, predicate actor, Edington or someone in the firm of FINKELSTEIN, KERN,
STEINBERG & CUNNINGHAM, filed a fraudulent security instrument that
fraudulently claimed that Gregory Elliott was indebted to HOUSEHOLD BANK (SB),
N.A. in a sum in excess of twelve thousand dollars Concisely, Edington, or someone in
the firm of FINKELSTEIN, KERN, STEINBERG & CUNNINGHAM, advanced a
writing which Edington and FINKELSTEIN, KERN, STEINBERG & CUNNINGHAM
knew was false, with the intention that Gregory Elliott rely on the fraud to Gregory
Elliott’s detriment Edington’s fraudulent claim was urged under color of an official right.
A jury shall determine that Timothy L. Edington and the iirm of FINKELSTEIN, KERN,

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STEINBERG AND CUNNINGHAM absolutely violated 18 USC 1961 & 1962 by the
fraud and extortion which occurred on September 14, 2004,

SECOND PREDICATE ACT IN VIOLATION OF 18 USC 1961 & 1962: On
November 18, 2004, predicate actor, Timothy L. Edington filed a fraudulent security
instrument that fraudulently claimed that Gregory Elliott was indebted to HOUSEHOLD
BANK (SB), N.A. in a sum in excess of twelve thousand dollars Concisely, Edington
advanced a writing which Edington knew was false, with the intention that Gregory
Elliott rely on the fraud to Gregory Elliott’s detriment Edington’s fraudulent claim was
urged under color of an official right. A jury shall determine that Timothy L_ Edington
absolutely violated 18 USC 1961 & 1962 by the fraud and extortion which occurred on
November 18, 2004_ In this episode of mischief, Edington secured Jeff D. Rader’s sworn
agreement to aide and abet in the defrauding of Gregory Elliott

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Affidavit

l, Gregory Elliott, of age and competent to testify, state as follows based on my own
personal knowledge:

l.

I was contacted by Ron Cunningharn about May 22, 2004_ Cunningham falsely
alleged that I owed him and/or the finn of FINKELSTEIN, KERN, STEINBERG
& CUNNINGHAM a large sum of money, but in the time since, has refused to
document and verify that I owe him, HOUSEHOLD BANK (SB), N.A., or
FINKELSTEIN, KERN, STEINBERG & CUNNINGHAM money.

On July 15, 2004, FINKELSTEIN, KERN STEINBERG & CUNNINGHAM
falsely alleged that HOUSEHOLD BANK (SB), N.A. had a claim against me and
had authority to sue in Tennessee courts

On July 29, 2004, Paul E. McLemore falsely alleged that HOUSEHOLD BANK
(SB) N.A. had a claim against me and had authority to sue in Tennessee courts
On September 15, 2004, Timothy L_ Edington falsely alleged that a party who had
no personal knowledge of the business records of HOUSEHOLD BANK (SB),
N.A. could testify competently about HOUSEHOLD BANK (SB), N.A.’S
records

On November 18, 2004, Timothy L. Edington secured agreement from leff D.
Rader that Rader would help Edington defraud me.

On July 15, 2004, and again on July 29, 2004, Paul E. McLemore made thinly
veiled threats to the effect that he was out to get me

As a result of the harassment of McLemore and Edington’s repeated attempts to
extort money and property from me, I have been deprived of business
opportunities and been damaged in my business enterprises

%M/YM

q~eg ry Elliott

..,'/`
STATE OF / pfl/l 106 .S ¢’Ci [NDIVIDUAL ACKNOWLEDGMENT
COUNTY OF § F(// €/

Before me, the undersigned, a Notary Public in and for said County and State on

this 72 7 day of ,B)F(P,n/g§r/, 200 i, personally appeared C;//€§L)/;/ ¢_/,:///'0%7¢

to me known to be the identical person who executed the within and foregoing instrument

and acknowledged to me that he executed the same as his free and voluntary act.

Given under my hand_ and seal the day and year last above Written.

My commission expires ;zé/QO § §

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Plaintifi`s’ RICO case statement detailing the racketeering enterprise,

the predicate acts of racketeering, and the economic purpose

FINKELSTEIN, KERN, STEINBERG & CUNNINGHAM is running a racket by
taking money and property from parties situated similarly to Gregory Elliott to satisfy
nonexistent “debts.” This court shall notice that Gregory Elliott, in this complaint, has
t_e§ti£g of injury to property and business by reason of acts which violate section 4 of
the Clayton Act. See Attick v. Valerz`a Associates, L.P., S.D. N.Y_ 1992, 835 F. Supp.
103_ Gregory Elliott has articulated violations of racketeering laws, testified that the
violations injured both business and property warranting treble damages See Avirgan v.
Hull, C.A. ll (Fla.) 1991, 932 F_Zd 1572. In naming FINKELSTEIN, KERN,
STEINBERG & CUNNINGHAM, an enterprise to which Timothy L. Edington belongs,
Gregory Elliott has established that an enterprise exists which undeniably affects
interstate commerce See Yellow Bus Lines, lnc. v. Drivers, Chaujjeurs & Helpers Local
Union 639, C.A.D.C. 1990, 913 F.2d 948, 286 U.S. App. D.C. 182, certiorari denied 111
S.Ct. 2839, 501 U.S. 1222, 115 L.Ed. 2d 1007. Gregory Elliott has standing to sue under
RICO as Gregory Elliott has shown violations of RICO, injury to business and property,
and causation of the injury by the violations See Hecht v. Commerce Clearing House,
Inc. C.A. 2 (N.Y.) 1990, 897 F.2d 21, 100 A.L.R. Fed. 655. Gregory Elliott has perfected
a RICO claim by showing the existence of a RICO enterprise, showing a pattern of
racketeering activity: fraud, shown nexus between the defendants and the pattern of
frauds, and shown resulting injury to business and property See Standard Chlorine of
Delaware, lnc. v. Sinz`baldi, D.Del. 1992, 821 F. Supp. 232. Gregory Elliott has
demonstrated that Gregory Elliott sustained injury as proximate result of the pattern of
frauds by the defendants See Jordan v. Herman, F.D_ Pa. 1992, 792 F. Supp. 380.
Timothy L. Edington’s membership in the enterprise, FINKELSTEIN, KERN,
STEINBERG & CUNNINGHAM, empowers Edington to do illicit business benefiting
FINKELSTEIN, KERN, and STEINBERG & CUNNINGHAM directly and indirectly.
FINKELSTEIN, KERN, STEINBERG & CUNNINGHAM is able to recoup and profit
by HOUSEHOLD BANK (SB), N.A., investment affecting interstate commerce See
Nassau-Sujolk Ice Cream, Inc. v. Integrated Resources, Inc. S.D.N.Y. 1987, 114 F.R.D.

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684. Gregory Elliott clearly articulated being Edington’s target of extortion and resulting
business loses See Polletier v. Zweifel, C.A. 11 (Ga.) 1991, 921 F_2d 1465, rehearing
denied 931 F.2d 901, certiorari denied 112 S.Ct. 167, 502 U.S. 855, 116 L.Ed. 131_ The
cause-in-fact that but for the chicanery of the enterprise member, Timothy L_ Edington,
Gregory Elliott would have his money and his business would not have incurred tangible
losses is sufficient to state factual causation for provision of RICO act providing for
treble damages See Khurana v. Innovative Heath Care Systems, Inc. , C.A. 5 (La.) 1997,
130 F.3d 143, Vacated 119 S.Ct. 442, 525 U.S. 979, 142 L.Ed. 2d 397, on remand 164
F_3d 900. Gregory Elliott’s reliance on traditional principles of proximate causation
applying to RICO cases is illustrated in the well pleaded testimony that Gregory Elliott
was the target of extortion and his business interfered with by predicate acts of the
defendants See In re American Honda Motor Co., Inc. Dealership Relations Litigation,
D_Md. 1996, 941 F.Supp. 528. There exists an undeniable relationship between the acts
of the defendants and the damage to property and business interests of Gregory Elliott.
See Red Ball Interior Demolition Corp. v. Palmadessa, S.D.N.Y.l995, 908 F. Supp.
1226. The damage caused by the defendants was the natural and reasonably foreseeable
consequence of the frauds promulgated by the defendants See Protter v. Nathan’s
Famous Systems, Inc. E.D. N.Y_ 1995, 904 F_Supp. 101. The fraud by the defendants
was the legal cause of Gregory Elliott being the target of extortion, his business interests
being interfered with, and related damages See Prudential Ins. Co. of America v. U.S.
G)psum Co. D.N_J. 1993, 828 F. Supp. 287_ The enterprise, HOUSEHOLD BANK (SB),
N.A. is evident to a high degree and it is also evident to a high degree that associates such
as Timothy L_ Edington act as a continuing unit. See Compagm`e de Reas.suarance D ’lle
de France v. New England Reinsurance Corp. D. Mass 1993, 825 F. Supp. 370. It is
undeniable that FINKELSTEIN, KERN, STEINBERG & CUNNINGHAM receives
money for defrauding parties such as Gregory Elliott and FINKELSTEIN, KERN,
STEINBERG & CUNNINGHAM receipts and compensation to collateral enterprises
represents their necessary investment in the class of business to which FINKELSTEIN,
KERN, STEINBERG & CUNNINGHAM belongs for the continuing privilege of, in the
vernacular, continuing to rip people off in phony, sham proceedings See Grand Cent.

Sanitation, Inc. v. Fl`rst Nat. Bank of Palmerton, M.D_Pa. 1992, 816 F.Supp. 299.

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Undeniably, the defendants have used the courts for purposes of fraud and extortion
Edington’s pattern of attacks on Gregory Elliott is but one of many of examples of fraud
by FINKELSTEIN, KERN, STEINBERG & CUNNINGHAM and other enterprises
similarly constituted

Remedy sought and prayer for relief

The Federal District Court has a duty to order the dissolution of HOUSEHOLD
BANK (SB), N.A. and FINKELSTEIN, KERN, STEINBERG & CUNNINGHAM under
authority of 18 USC 1964(a). The Federal District Court is empowered to order treble
damages as remedial to the racketeering activities of “RICO” enterprises and their
constituent members A jury’s determination that FINKELSTEIN, KERN, STEINBERG
& CUNNINGHAM by and through Timothy L. Edington and Jeff D. Rader has engaged
in a pattern of frauds rising to a level of racketeering requires this court’s order to
HOUSEHOLD BANK (SB), N.A. and FINKELSTEIN, KERN, STEINBERG &
CUNNINGHAM to dissolve and cease operations A jury’s determination that
FINKELSTEIN, KERN, STEINBERG & CUNNINGHAM, by and through Timothy L.
Edington and Jeff D. Rader, committed or aided and abetted two or more predicate acts
of fraud resulting in defrauding Gregory Elliott and others similarly situated of property
and business interests justly requires ordering HOUSEHOLD BANK (SB), N.A.,
FINKELSTEIN, KERN, STEINBERG & CUNNINGHAM, and Timothy L. Edington
and Jeff D. Rader to compensate all parties in a sum not less than three times the
collective sums of property and losses to businesses of all who are similarly situated
TRIAL BY JURY DEMANDED

Prepared and submitted by: W

Wjéery Elliott

 

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